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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 17-61464-civ-Dimitrouleas/Snow

     ALFRED CLARK, JR.,
     JASON ADOLPHUS DAVIDS,

                    Plaintiffs,
     v.

     NATIONWIDE HVAC CORP,
     ARSEN GRITSENKO,
     LUKASZ KOZOWY,

                 Defendants.
     __________________________________/

                    PLAINTIFFS’ MOTION FOR EXTENSION OF TIME
                              TO SERVE DEFENDANTS

            Pursuant to the Court’s Order [DE 13], Plaintiffs move for an extension of time to

     and in support, state the following:

     1.     Plaintiffs are currently waiting to receive confirmation of service on Defendant

     Nationwide HVAC Corp through Florida’s Secretary of State.

     2.     Defendants have actively evaded service.

     3.     Plaintiffs’ process server made many efforts to serve Defendants.

     4.     Defendants repeatedly advise Plaintiffs’ process server that they are available, but

     when the process server comes to serve the papers, Defendants are nowhere to be found.

     5.     Plaintiffs’ process server advises:

                    No matter what the Defendant says, that he is there and will
                    be there, etc….. When we go to the address provided, there
                    is no answer at the door. I just tried calling him again, and
                    now I get voicemail. Not sure what more we can do other
                    than sit there to see if someone comes out of the apartment
                    condo, which Arsen claims is an office. Server is continuing
                    attempts, but, I do believe they are avoiding.



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            WHEREFORE, Plaintiffs respectfully requests an additional 30 days to serve

     Defendants.

                                                 Respectfully submitted,

                                                 Koz Law, P.A.
                                                 320 S.E. 9th Street
                                                 Fort Lauderdale, Florida 33316
                                                 Phone: (786) 924-9929
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                                                 Elliot Kozolchyk, Esq.
                                                 Bar No.: 74791

                                 CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing was
     electronically filed on April 6, 2018 with the Clerk of Court using CM/ECF along with
     having served all counsel of record or pro se parties identified on the service list
     incorporated herein in the manner specified, either via transmission of Electronic filing
     generated by CM/ECF or in some other authorized manner for those counsel or parties not
     authorized to receive electronically Notice of Electronic Filing.




                                                 Elliot Kozolchyk, Esq.


                                        SERVICE LIST

            Defendants have not yet appeared in this case.




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